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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-01&lt;A NAME="1"&gt;&lt;/A&gt;-00&lt;A NAME="2"&gt;186&lt;/A&gt;-CV&lt;/CENTER&gt;
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&lt;STRONG&gt;&lt;/STRONG&gt;&lt;CENTER&gt;&lt;A NAME="3"&gt;&lt;/A&gt;In re Patrick McShane, Relator&lt;/CENTER&gt;


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&lt;/STRONG&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;ORIGINAL PROCEEDING FROM COMAL &lt;A NAME="5"&gt;&lt;/A&gt;COUNTY &lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;STRONG&gt;PER CURIAM&lt;/STRONG&gt;

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&lt;P&gt;	Relator Patrick McShane filed a petition for writ of mandamus and motion for
emergency relief.  We overrule the motion and deny the petition for writ of mandamus.  Tex. R.
App. P. 52.8(a).&lt;/P&gt;

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&lt;P&gt;Before Chief Justice Aboussie, Justices Kidd and Yeakel&lt;/P&gt;

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&lt;P&gt;Filed:   April 16, 2001&lt;/P&gt;

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&lt;P&gt;Do Not Publish&lt;/P&gt;

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